                             Case 3:16-cr-00286-RDM Document 103 Filed 12/21/18 Page 1 of 8
AO 245B (Rev. 02/ 18)   Judgment in a Criminal Case
                         Sheet I



                                           UNITED STATES DISTRICT COURT
                                          Middle District of Pennsylvania
                                                          )
                 UNITED STATES OF AMERICA                 )    JUDGMENT IN A CRIMINAL CASE
                            v.                            )
                                                          )
                      ASHLEY A. PEREZ                           Case Number: 3: 16-CR-0286-02
                                                          )
                                                          )    USM Number: 75739-067
                                                          )
                                                          )      Thomas B. Helbig, Esq .
                                                               Defendant's Attorney
                                                          )
THE DEFENDANT:
!iZl' pleaded guilty to count(s)        1 and 4 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense

 18 u.s.c. §371                      Conspiracy to Commit Theft




                                                                                                                                        -
 18 U.S.C. §1028A(a)(1)              Aggravated Identity Theft, Aid and Abet                                  9/15/2015                   4
     and 2

       The defendant is sentenced as provided in pages 2 through          __8_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!iZl' Count(s)    2 and 3                               Dis         liZI' are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 cJ.ays of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in econollllc circumstances.




                                                                           Robert D. Mariani, United States District Judge
                                                                          Name and Title of Judge




                                                                          Date
                                                                                             1'>f~(lt
                            Case 3:16-cr-00286-RDM Document 103 Filed 12/21/18 Page 2 of 8
AO 245B (Rev. 02/ 18) JudgJl1ent in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                       Judgment -   Page   -=2-   of   8
 DEFENDANT: ASHLEY A. PEREZ
 CASE NUMBER: 3:16-CR-0286-02

                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

  twenty-one (21) months. This term consists of terms of three (3) months on Court 1 and eighteen (18) months on Count 4, to
  run consecutively for an aggregate term of twenty-one months imprisonment.



     liZ!' The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends defendant be afforded access to mental health treatment and participation in drug treatment
  programs where she is housed . The Court further recommends Defendant be housed at a facility in close proximity to her
  family in Phillipsburg, New Jersey.

     bl! The defendant is remanded to the custody of the United States Marshal.

     0 The defendant shall surrender to the United States Marshal for this district:
            0   at                                              0 p.m.       on

            0   as notified by the United States Marshal.

     0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            0   before 2 p.m. on

            0   as notified by the United States Marshal.

            0   as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                            By - - - - - - - - - - - - - - - - - - - - - -
                                                                                                DEPUTY UNITED STATES MARSHAL
                           Case 3:16-cr-00286-RDM Document 103 Filed 12/21/18 Page 3 of 8
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                         Judgment- Page   3    of        8
DEFENDANT: ASHLEY A. PEREZ
CASE NUMBER: 3:16-CR-0286-02
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
     two (2) years. This term consists of two (2) years on Count 1 and one (1) year on Count 4, to run concurrently.




                                                    MANDATORY CONDITIONS

1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.       ~ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.       ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       D You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                            Case 3:16-cr-00286-RDM Document 103 Filed 12/21/18 Page 4 of 8
 AO 245B (Rev. 02/ 18) Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                                                   4 _ _ of _ _ _8_ __
                                                                                                Judgment- Page _ _ _
DEFENDANT: ASHLEY A. PEREZ
CASE NUMBER: 3:16-CR-0286-02

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit    {ou at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions o your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
       aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
       you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
       confirm that you have notified the person about the risk.
13 .   You must follow the instructions of the probation officer related to the conditions of supervision.
14.    You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
       fines, or special assessments.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date _ _ _ _ _ _ _ _ _ _ __
                          Case 3:16-cr-00286-RDM Document 103 Filed 12/21/18 Page 5 of 8

AO 245B (Rev. 02/18)   Jud~ent in a Criminal Case
                       Sheet 3B - Supervised Release
                                                                                              Judgment- Page ____5____ of      8
DEFENDANT: ASHLEY A. PEREZ
CASE NUMBER: 3:16-CR-0286-02

                                     ADDITIONAL SUPERVISED RELEASE TERMS


1) You must submit to substance abuse testing to determine if you have used a prohibited substance . You must not
attempt to obstruct or tamper with the testing methods;

2) You must participate in a substance abuse treatment program and follow the rules and regulations of that program . The
probation officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.) which
could include an evaluation and completion of any recommended treatment; and

3) You must participate in a mental health treatment program and follow the rules and regulations of that program. The
probation officer, in consultation with the treatment provider, will supervise you participation in the program (provider,
location , modality, duration, intensity, etc.) which could include an evaluation and completion of any recommended
treatment. You must take all mental health medications that are prescribed by your treating physician;

4) You must not incur new credit charges, or open additional lines of credit without the approval of the probation officer.

5) You must provide the probation officer with access to any requested financial information and authorize the release of
any financial information. The probation office may share financial information with the U.S. Attorney's Office; and

6) You must apply all monies received from income tax refunds, lottery winnings, judgments, and/or other anticipated or
unexpected financial gains to the outstanding court-ordered financial obligation .
                            Case 3:16-cr-00286-RDM Document 103 Filed 12/21/18 Page 6 of 8
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment - Page _   _,6"---   of   8
 DEFENDANT: ASHLEY A. PEREZ
 CASE NUMBER: 3:16-CR-0286-02
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                     JVTA Assessment*                                               Restitution
TOTALS             $ 200.00                     $                                $                              $ 1, 174.89



 D The determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                                       Total Loss**
  Clerk, U.S. District Court, for disbursement to

      ESSA Bank & Trust                                                                                          $614.78
      Bradley Hoke




TOTALS                               $                          0.00           $ ~~~~~1_,_
                                                                                         17_4_.8_9_


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

ltJ   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      ltJ the interest requirement is waived for the           D fine      ltJ restitution.
       D the interest requirement for the           D fine      D      restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.          ·
                          Case 3:16-cr-00286-RDM Document 103 Filed 12/21/18 Page 7 of 8
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 5A - Criminal Monetary Penalties
                                                                                           Judgment-Page __J__ of          8
DEFENDANT: ASHLEY A. PEREZ
CASE NUMBER: 3:16-CR-0286-02

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 During the term of imprisonment, restitution is made payable every three months in an amount, after a telephone
 allowance, equal to 50 percent of the funds deposited into the defendant's inmate trust fund account.

 In the event the restitution is not made in full prior to the commencement of supervised release, the defendant shall, as a
 condition of supervised release, satisfy the amount due in monthly installments of no less than $50, to commence thrity
 (30) days after release from confinement.
                           Case 3:16-cr-00286-RDM Document 103 Filed 12/21/18 Page 8 of 8
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 6 - Schedule of Payments

                                                                                                                Judgment - Page   --=-8- of              8
DEFENDANT: ASHLEY A. PEREZ
CASE NUMBER: 3:16-CR-0286-02

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     D     Lump sum payment of$                                due immediately, balance due

            D    not later than                                      , or
            D    in accordance with D        C,     D    D,     D     E, or     D F below; or

B     D     Payment to begin immediately (may be combined with                DC,         OD, or        D F below); or

C     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     IZl   Special instructions regarding the payment of criminal monetary penalties:

            THE COURT FINDS that the defendant does not have the ability to pay a fine. IT IS ORDERED that the defendant
            shall pay to the Clerk, U.S . District Court, a special assessment of $200, due immediately.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




~    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
       Lewis R. Davenport, 3:CR-16-286-01.
        IT IS ORDERED that no further payment shall be required after the sum of the amounts actually paid by this defendant
       and her co-conspirator, Lewis R. Davenport, has fully covered all of the compensable harm.


D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
